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                                                   UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                       Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                                                   MOTION INFORMATION STATEMENT
                  24-1436(L); 24-1567(XAP)
Docket Number(s): ________________________________________                                                     _______________Caption [use short title]_____________________
            an Order Striking a Designated Portion of
Motion for: ______________________________________________
 Appellee-Cross-Appellant Sarah Hoiland's Initial Brief
________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:
Appellant-Cross-Appellee Esther Wilder and
________________________________________________________
Appellee-Cross-Appellant Sarah Hoiland
________________________________________________________
                                                                                                                Wilder v. Hoiland
jointly request that the Court strike a designated
________________________________________________________
portion of Hoiland's initial brief.
________________________________________________________

________________________________________________________

________________________________________________________
                                                                    N/A
                          Appellant-Cross-Appellee Esther Wilder and Appellee-Cross-Appellant Sarah Hoiland
MOVING PARTY:_______________________________________ OPPOSING PARTY:____________________________________________

            ___Plaintiff                                 ___Defendant

            ✔
            ___Appellant/Petitioner                      ✔
                                                        ___Appellee/Respondent

                                                                                     N/A
                Guy Cohen, Esq. and Matthew Hersh, Esq. OPPOSING ATTORNEY:________________________________________
MOVING ATTORNEY:___________________________________
                         [name of attorney, with firm, address, phone number and e-mail]
Guy Cohen, Davis+Gilbert LLP, 1675 Broadway, New York, NY 10019 _______________________________________________________________
________________________________________________________
(212) 468-4800, gcohen@dglaw.com; Matthew Hersh, Mestaz Law,
________________________________________________________     _______________________________________________________________
5090 N. 40th Street, Suite 200, Phoenix, AZ 85018, (602) 806-2068, Matt@MestazLaw.com
________________________________________________________ _______________________________________________________________
                                    Southern District of New York - Hon. P. Kevin Castel
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                                                               FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                                                              INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):                                           Has this request for relief been made below?          ___Yes ___No
         ✔
        ___Yes                      Joint Motion
                   ___No (explain):__________________________                                                 Has this relief been previously sought in this court? ___Yes ___No
        _______________________________________________                                                       Requested return date and explanation of emergency: ________________
                                                                                                              _____________________________________________________________
Opposing counsel’s position on motion:
                                                                                                              _____________________________________________________________
          ✔
         ___Unopposed    ___Opposed ___Don’t Know
                                                                                                              _____________________________________________________________
Does opposing counsel intend to file a response:
                                                                                                              _____________________________________________________________
                    ✔
         ___Yes ___No        ___Don’t Know


Is oral argument on motion requested?                                             ✔ (requests for oral argument will not necessarily be granted)
                                                                          ___Yes ___No

Has argument date of appeal been set?                                              ✔
                                                                          ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:
/s/ Guy Cohen
_________________________________       1/13/2025
                                        1/10/2025
                                  Date:__________________              ✔
                                                          Service by: ___CM/ECF ___Other [Attach proof of service]



/s/ Matthew Hersh
Form T-1080 (rev.12-13)
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 24-1436 (L)           24-1567 (XAP)


     In the United States Court of Appeals
             for the Second Circuit
         __________________________________________

                   ESTHER WILDER,
        PLAINTIFF-APPELLANT-CROSS-APPELLEE

                                  v.

                     SARAH HOILAND,
        DEFENDANT-APPELLEE-CROSS-APPELLANT
         __________________________________________

  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK (CIV. NO. 22-721)
         __________________________________________

 JOINT MOTION TO STRIKE A DESIGNATED PORTION OF
   APPELLEE-CROSS-APPELLANT SARAH HOILAND’S
                     INITIAL BRIEF
        __________________________________________

      MATTHEW HERSH                          GUY COHEN
      MESTAZ LAW                             DANIELLE C. ZOLOT
      5090 N. 40th Street                    DAVIS+GILBERT LLP
      Suite 200                              1675 Broadway
      Phoenix, AZ 85018                      New York, NY 10019
      (602) 806-2068                         (212) 468-4800
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      Appellant-Cross-Appellee Esther Wilder and Appellee-Cross-Appellant

Sarah Hoiland, by and through their undersigned counsel, respectfully submit this

joint motion requesting that the Court strike a designated portion of Hoiland’s initial

brief (the “Hoiland Brief” or “Hoiland Br.”).

      On November 4, 2024, Hoiland submitted the Hoiland Brief. (Dkt. 35.1.) In

conjunction with her Cross-Appeal of the District Court’s determination denying

Hoiland an award of attorney’s fees, Hoiland stated:

      [Wilder] steadfastly refused to settle this Action, despite countless discussions
      and the efforts of three mediators (including the Second Circuit’s mediator),
      because she insisted on receiving from Hoiland an explicit or implicit
      admission of wrongdoing.

(Hoiland Br. at 64-65.)

      Wilder contends that this sentence (the “Disputed Sentence”) violates Local

Rule 33.1 because it contains a reference to the outcome of the CAMP mediation

between the parties as well as an assertion of the position Wilder took in that

mediation. Local Rule 33.1 of this Court states as follows:

      Information shared during a CAMP proceeding is confidential and is
      not included in court files or disclosed to the judges of this court except
      to the extent disclosed by an order entered as a result of a CAMP
      proceeding. The attorneys and other participants are prohibited from
      disclosing what is said in a CAMP proceeding to anyone other than
      clients, principals or co-counsel, and then, only upon receiving due
      assurance that the recipient will honor confidentiality.

Local Rule 33.1(e). Accordingly, Wilder has informed Hoiland that she intends to

move to strike this reference to the CAMP mediation within the Hoiland Brief. E.g.,
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      Appellant-Cross-Appellee Esther Wilder and Appellee-Cross-Appellant

Sarah Hoiland, by and through their undersigned counsel, respectfully submit this

joint motion requesting that the Court strike a designated portion of Hoiland’s initial

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(Hoiland Br. at 64-65.)

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Local Rule 33.1(e). Accordingly, Wilder has informed Hoiland that she intends to

move to strike this reference to the CAMP mediation within the Hoiland Brief. E.g.,
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In re Felzenberg, 242 F.3d 365 (2d Cir. 2000) (striking improper portions of

appellate brief).

      Hoiland contends that she did not disclose what was said at the CAMP

proceeding and therefore did not violate Local Rule 33.1(e). In support of her

motion for attorney’s fees before the District Court, Hoiland included evidence

concerning the settlement position Wilder took throughout the litigation, and in

doing so, Hoiland cited to case law indicating that a court may properly consider

evidence regarding settlement negotiations in assessing an attorney’s fees motion.

See Wilder v. Hoiland, 1:22-cv-01254 (PKC), Dkt. 92, at 11 & n.3 (March 1, 2024);

see Walsh v. Townsquare Media, Inc., 565 F. Supp. 3d 400, 404 (S.D.N.Y. 2021);

Walsh v. Townsquare Media, Inc., No. 19-CV-04958 (VSB), 2022 U.S. Dist. LEXIS

79444, at *7 n.6 (S.D.N.Y. May 2, 2022); Fortgang v. Pereiras Architects

Ubiquitous LLC, No. CV-16-3754(ADS) (AYS), 2018 U.S. Dist. LEXIS 40359, at

*10-11 (E.D.N.Y. Mar. 9, 2018) (“Because these documents are not submitted to

determine liability or validity of claims, their consideration is not barred by Rule

408.”) (collecting cases).1




1
 Wilder’s view is that while these cases may authorize the consideration of evidence
of settlement negotiations in the ordinary course, they do not apply to CAMP
proceedings that are governed by the rules of this Court.


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      In the Hoiland Brief, Hoiland again referenced the settlement position that

Wilder took throughout the litigation, and it is Hoiland’s position that the

parenthetical reference to the Second Circuit mediator in the Disputed Sentence was

not intended to convey, nor did it convey, anything that was said during the CAMP

conference.

      Notwithstanding Hoiland’s disagreement with Wilder’s contention, Hoiland

will agree to have the words shown in strikethrough below stricken from the

Disputed Sentence:

      [Wilder] steadfastly refused to settle this Action, despite countless discussions
      and the efforts of three mediators (including the Second Circuit’s mediator),
      because she insisted on receiving from Hoiland an explicit or implicit
      admission of wrongdoing.

      For these reasons, the parties jointly request that the Court strike the word

“three” and the parenthetical containing the words “including the Second Circuit’s

mediator” from the Disputed Sentence in the Hoiland Brief.

      Respectfully submitted,

      /s/ Matthew Hersh                              /s/ Guy Cohen
      Matthew Hersh                                  Guy Cohen
      MESTAZ LAW                                     Danielle C. Zolot
      5090 N. 40th Street                            DAVIS+GILBERT LLP
      Suite 200                                      1675 Broadway
      Phoenix, AZ 85018                              New York, NY 10019
      Telephone: (602) 806-2068                      Telephone: (212) 468-4800

      Counsel for Appellant-Cross-                   Counsel for Appellee-Cross-
      Appellee Esther Wilder                         Appellant Sarah Hoiland
Dated: January 13, 2025


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